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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:09CR48
                              )
          v.                  )
                              )
ISIDRO DUARTE-ANDRADE,        )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s notice

of motion for immediate deportation (Filing No. 182).                Plaintiff

should file a response to said motion.          Accordingly,

           IT IS ORDERED that plaintiff shall file a response to

defendant’s motion for deportation on or before May 6, 2011.

           DATED this 14th day of April, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
